                Case 1:22-cv-00041-LKG Document 6 Filed 06/09/22 Page 1 of 2



                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

WESLEY DANIEL VINEY,

Plaintiff,

v.                                                                       Civil Action No.: 22-cv-00041-LKG

CRAIG ROBERSON, et al.

Defendant.

                   REQUEST FOR EXTENSION OF TIME TO FILE RESPONSE

           Defendants Craig Roberson [sic] 1 and Daniel Lasher, by and through their attorneys T. Lee

Beeman, Jr., County Attorney for Allegany County, Maryland, move, pursuant to Fed.R.Civ.P.

6(b)(1)(A) and Standing Order 2012-01 (D.Md. 2012), for an extension of time to and including

August 9, 2022, to file a response to the complaint filed in the above-captioned case, and in support

thereof, states the following:

           1.       Undersigned counsel accepts service of process on behalf of Defendants.

           2.       Defendants’ response is due to be filed on Friday, June 10, 2022.

           3.       Although certain information and materials relating to the complaint herein have

now been received by undersigned counsel, it is necessary to obtain additional documents

including declarations, so that Defendants can prepare and file an appropriately detailed response.

           4.       An additional sixty (60) day period to and including August 9, 2022, within which

to respond to the Complaint should be sufficient to prepare Defendant’s initial pleadings.

           5.       This Motion is not made for purposes of delay.




1
    Craig Robertson is the Sheriff of Allegany County, Maryland and the proper Defendant in this matter.
          Case 1:22-cv-00041-LKG Document 6 Filed 06/09/22 Page 2 of 2



       WHEREFORE, it is respectfully requested that this Court grant leave for Defendant to file

a response in the instant case on or before August 9, 2022.




                                                    Respectfully submitted,

                                                    OFFICE OF THE COUNTY ATTORNEY
                                                    FOR ALLEGANY COUNTY, MARYLAND


                                                        /s/
                                                    T. Lee Beeman, Jr., Bar Number: 19613
                                                    701 Kelly Road, 4th Floor
                                                    Cumberland, Maryland 21502
                                                    Tel: (301) 777-5823
                                                    Fax: (301) 724-6970
                                                    Email: lbeeman@blpblaw.com
                                                    Counsel for Defendant



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 9th day of June, 2022, a copy of the foregoing Motion

for Extension of Time to File Response was mailed, postage prepaid, to:

       Wesley D. Viney,
       DOC #485438
       MCTC
       18800 Roxbury Road
       Hagerstown, MD 21746

                                                         /s/
                                                     T. Lee Beeman, Jr., Bar Number: 19613
